                                                                              USDC SDNY
                                                                              DOCUMENT
UNITED STATES DISTRICT COURT                                                  ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                                 DOC #: _________________
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                                                                         :
 U.S. BANK, NATIONAL ASSOCIATION, in its                                 :
 capacity as Trustee, JOSHUA N. TERRY, AND ACIS :
 CAPITAL MANAGEMENT, L.P.,                                               :    1:21-cv-11059-GHW
                                                                         :
                                                 Plaintiffs,             :          ORDER
                                                                         :
                              -against-                                  :
                                                                         :
 THE CHARITABLE DONOR ADVISED FUND,                                      :
 L.P., AND CLO HOLDCO LTD.,                                              :
                                                                         :
                                                 Defendants.             :
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GREGORY H. WOODS, District Judge:

         In light of the stay of discovery entered on April 14, 2022, Dkt. No. 39, the initial pre-trial

conference scheduled for April 27, 2022, is adjourned pending the resolution of Defendants’

anticipated motions to dismiss.



         SO ORDERED.

 Dated: April 18, 2022                                        _____________________________________
 New York, New York                                                    GREGORY H. WOODS
                                                                      United States District Judge
